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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


IN RE:                                      :
                                            :
WCD, LLC                                    :      Case No. 17-36817
                                            :      Chapter 11
DEBTOR                                      :

         DEBTOR'S AMENDED MOTION TO CONVERT CHAPTER 11 CASE
          TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE


TO THE HONORABLE U. S. BANKRUPTCY JUDGE:

          WCD, LLC ("Debtor" or “Movant”) files this Amended Motion To Convert

Chapter 11 Case to a Case under Chapter 7 of the Bankruptcy Code (the “Motion”), and

in support states the following:

          1.    This Court has jurisdiction over this Motion under 28 U.S.C. Section 157

and 1334. Venue of this proceeding and this Motion in this District is proper under 28

U.S.C. Sections 1408 and 1409.

          2.    On December 21, 2017, Debtor filed a petition herein under Chapter 11 of

the Bankruptcy Code. Movant is the Debtor and debtor-in-possession herein. Debtor has

remained in possession of its assets and has continued to operate as an engineering and

staffing company. Debtor employs 8 employee/contractors who are paid on a bi-weekly

basis.

          3.    On February 21, 2018, Debtor filed an adversary (Adv. No. 18-03031)

against Materials Lifecycle Management Company of St. Louis, LLC (“MLMC”), a

former major customer of Debtor.
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       4.      Debtor and MLMC have also been in discussions regarding a possible

settlement of the adversary. Debtor received a written settlement offer to the Debtor by

MLMC for $92,561.00, an amount that would essentially satisfy the secured creditor that

factored the invoices to MLMC but would leave nothing for the estate.

       5.      Debtor has limited physical assets, primarily office furniture and computer

equipment.    It was anticipated that Debtor could sell its customer lists and other

intangibles at auction. However, it appears that the transfer of customers to a potential

buyer would be at the customers’ option over which Debtor has no control.

       6.      Debtor stabilized its cash flow and is operating with a positive cash flow

for monthly operating expenses. It currently has approximately $30,000.00 in its DIP

account as of this date. Continuing in chapter 11 in its vision of a confirmable plan would

incur additional administrative costs. The prospect of increasing the dividends to the

creditors is doubtful.

       7.      Debtor believes it is in the best interest of the estate to proceed as a debtor

under Chapter 7.

       WHEREFORE, Debtor prays for relief under Chapter 7 of the Bankruptcy Code.

                                              Respectfully Submitted,


                                                /s/ Larry A. Vick
                                              LARRY A. VICK
                                              State Bar No. 20563500
                                              10497 Town & Country Way, Suite 700
                                              Houston, Texas 77024
                                              lv@larryvick.com
                                              (713) 239-1062
                                              (832) 202-2821 fax

                                              ATTORNEY FOR DEBTOR
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of July, 2018 I forwarded a true and correct
copy of the above and foregoing Motion by U. S. Mail and/or the Court ECF System
upon the Debtor and all creditors and parties in interest as follows:

WCD, LLC, Debtor
3902 Braxton Drive
Houston, TX 77063

ADT, LLC
8755 West Higgins Road, Suite 610
Chicago, IL 60631

Affinity Law Group, LLC
1610 Des Peres Road, Suite 100
St. Louis, MO 63131

Aire Serv of The Woodlands & Conroe
3224 Pine Acres Road
Conroe, TX 77384

ATEC Training & Certification LLC
3409 Brinkman Street, Suite A
Houston, TX 77018

Benefits Plans Plus, LLC
6 Cityplace Drive, Suite 700
Saint Louis, MO 63141

Blue Cross Blue Shield
Health Care Service Corp Box 731428
14800 Frye Road, 2nd Floor
Ft. Worth, TX 76155

Bryan Cave LLP
211 N. Broadway, Suite 3600
St. Louis, MO 63102

Corporate Incentives, Inc.
26414 Oak Ridge Drive
The Woodlands, TX 77380

Corporation Service Company
2711 Centerville Road
Wilmington, DE 19808
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David Smith
59 Creek Forest Lane
Conroe, TX 77384

Andrew Wainright
d/b/a Deep Ocean
28019 E. Benders Landing Blvd.
Spring, TX 77386

Daughhetee & Associates, PLLC
3200 N Hayden Road, Suite 320
Scottsdale, AZ 85251

Dell Business Credit
P O Box 5275
Carol Stream, IL 60197

DynaQual Test Labs
301 Wells Fargo Drive, Suite C10
Houston, TX 77090

EMA Design Automation
P O Box 23325
Rochester, NY 14692

Envirotest, LLC
3902 Braxton Drive
Houston, TX 77063

Fisher Phillips
1075 Peachtree St, Suite 3500 NE
Atlanta, GA 30309

Funding Circle Partners, LP
747 Front Street, Floor 4
San Francisco, CA 94111

Greater Houston Manufacturers Assoc.
1305 W. 11th Street, #222
Houston, TX 77008

Hansen Manufacturing, Inc.
4807 Ramus Street
Houston, TX 77092
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Innovative IDM
1625 Wallace Drive, Suite 110
Carrollton, TX 75006

J.E.F. Fabrication, Inc.
25803 Oak Ridge Drive
Spring, TX 77380

Jamesco Electronics
1355 Shoreway Road
Belmont, CA 94002

John Mayer, Attorney
Ross, Banks, May, Cron & Cavin, P.C.
7700 San Felipe, Suite 550
Houston, TX 77063

Laser Imaging
P O Box 690229
Houston, TX 77269-0229

Lemon Cleaning Company
11811 N. Freeway, Suite 500
Houston, TX 77060

Libra Industries
Libra Dallas Plant
P O Box 932495
Cleveland, OH 44193

Magnetek, Inc.
P O Box 8497
Carol Stream, IL 60197-8497

McMaster-Carr
P O Box 740100
Atlanta, GA 30374-0100

Mercury Well Control
3902 Braxton Drive
Houston, TX 77063

Montgomery County Tax Assessor/Collector
c/o Tara L. Grundemeier
P. O. Box 3064
Houston, TX 77253
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Motion Industries
P O Box 849737
Dallas, TX 75284-9737

Muse Metal Laboratories, Inc.
1110 S. Virginia Street
Terrell, TX 75160

Niltronix Circuits
1765 Upland Drive
Houston, TX 77042

Office Team
P O Box 743295
Los Angeles, CA 90074-3295

Pendleton Capital Goup, Inc.
820 Gessner Road, Suite 250
Houston, TX 77024

Pillarstone Capital Reit Operating Partnership Dept #234
P O Box 4869
Houston, TX 77210

PPSI
10905 Brooklet Drive
Houston, TX 77099

Principal Life Insurance
PLIC - SBD Grand Island
P O Box 10372
Des Moines, IA 50306-0372

Ramtec Training Services, LLC
P O Box 940637
Houston, TX 77094

ReadyRefresh by Nestle
P O Box 856680
Louisville, KY 40285-6680

Robert Half International Inc.
c/o Marc L. Ellison, Attorney
Totz Ellison & Totz, P.C.
2211 Norfolk, Suite 510
Houston, TX 77098
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Ruth Smith
59 Creek Forest Lane
Conroe, TX 77384

Sitex Environmental, Inc.
1525 S. Broadway
St. Louis, MO 63104

Stuart Williams
3902 Braxton Drive
Houston, TX 77063

Suntronic Inc.
10501 Kipp Way Drive, Suite 350
Houston, TX 77099

Syncfusion
2501 Aerial Center Parkway, #200
Morrisville, NC 27560

Texas Workforce Commission
Tax Department
19221 I-45 S., Suite 250
Shenandoah, TX 77385-2232

Timco Machine Company Inc.
2503 1/2 Brammel Timbers Lane
Houston, TX 77068

U. S. Trustee
515 Rusk, Suite 3615
Houston, TX 77002

Uni-Fab
P O Box 1427
Willis, TX 77378-1427

Variosystems, Inc. USA
901 S. Kimball Avenue
Southlake, TX 76092

Verizon
P O Box 660108
Dallas, TX 75266-0108
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Visa Cardmember Services
P O Box 790408
St. Louis, MO 63179-0408

Wavedge
Rick Thompson
6505 West Park Blvd.
Plano, TX 75093

WCS Quality Registrars, LLC
P O Box 940637
Houston, TX 77094-7637


                                    /s/ Larry A. Vick
                                   LARRY A. VICK
